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Brady Report

 

 

Municipality Court ID Name Rank
MIAMI DADE POLICE 030-07648 GLADSTON GLAWSON POLICE OFFICER
1/30/18 SAO#062/18/0 Taser - In Custody Death

1/30/004

Under Investigation
ASA(s) Gilbert, David
Victim(s) Sanchez, Daniel

Brady Date: 2/1/2018 Status: Open/Pending

Municipality Court ID Name Rank
HIALEAH 004-01178 LUIS SERVILLA DETECTIVE
12/29/17 201740269 Police Shooting

Under Investigation
ASA(s) Rosen, Howard
Victim(s) Valdes-Guzman, Yaico

Brady Date: 1/9/2018 Status: Open/Pending

Municipality Court ID Name Rank
MIAMI 0071-42629 JOHN ROMERO POLICE OFFICER
12/24/17 PC# Police Shooting

171224005608

6

Under Investigation
ASA(s) Michael VonZamft/Laura Adams
Victim(s) Gnatt, Bernard Joseph

Brady Date: 12/29/2017 Status: Open/Pending
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Municipality Court ID Name Rank
MIAMI 0011-28417 WILLIE LASTER POLICE OFFICER
12/24/17 PC# Police Shooting
171224005608
6

Under Investigation

ASA(s) Michael VonZamft/Laura Adams

Victim(s) Gnatt, Bernard Joseph

Brady Date: 12/29/2017 Status: Open/Pending

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Municipality Court ID Name Rank
HIALEAH 004-01930 ESTEBAN HOLLAND POLICE OFFICER
10/01/2017 PCN# Police Shooting

201730325

Under Investigation

ASA(s) David Gilbert

Victim(s) Machado, Lester J

Brady Date: 10/5/2017 Status: Open/Pending

Municipality Court ID Name Rank
HIALEAH 004-02080 DANIEL GARCIA-MUNIZ POLICE OFFICER
10/01/2017 PCN # Police Shooting

201730325

Under Investigation

ASA(s) David Gilbert

Victim(s) Machado, Lester J

Brady Date: 10/5/2017 Status: Open/Pending

Municipality Court ID Name Rank
HIALEAH 004-02042 ADRIAN VIDAL POLICE OFFICER
10/01/2017 PCN Police Shooting

#201730325

Under Investigation
ASA(s) David Gilbert
Victim(s) Machado, Lester J
Brady Date: 10/5/2017 Status: Open/Pending
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Municipality Court ID Name Rank
HIALEAH 004-01860 DANIEL GATO POLICE OFFICER
10/01/2017 PCN # Police Shooting

201730325

Under Investigation
ASA(s) David Gilbert
Victim(s) Machado, Lester J
Brady Date: 10/5/2017 Status: Open/Pending
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Municipality Court ID Name Rank
HIALEAH 004-02007 FELIX ELIAS POLICE OFFICER
10/01/2017 PCN# Police Shooting

201730325

Under Investigation
ASA(s) David Gilbert
Victim(s) Machado, Lester J
Brady Date: 10/5/2017 Status: Open/Pending
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Municipality Court ID Name Rank
HIALEAH 004-01868 JOSE ABEL POLICE OFFICER
10/01/2017 PCN# Police Shooting

201730325

Under Investigation
ASA(s) David Gilbert
Victim(s) Machado, Lester J
Brady Date: 10/5/2017 Status: Open/Pending
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Municipality Court ID Name Rank
FLORIDA CITY 016-00533 KEN ARMENTEROS CORPORAL
9/12/2016 Investigation Off. misconduct, tampering with evidence

Under Investigation
ASA(s) Trent Reichling
Victim(s)
Brady Date: 9/29/2017 Status: Pending
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Municipality Court ID Name Rank
OPA LOCKA 008-00023. STANLEY J JEAN-FRANCOIS DETECTIVE
F17-18246 FALSE IMPR/D WEAPON, BATTERY/AGG/DWEAP
Under Investigation
ASA(s) Sandra Miller-Batiste
Victim(s)
Brady Date: 9/19/2017 Status: PENDING
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Municipality Court ID Name
MIAMI DADE POLICE 030-07487 DANNY PEREZ
6/15/16 PD161615225 Police Shooting

317

Under Investigation

ASA(s) Tim Vandergisen/Marie Mato
Victim(s) Castameda Jr. Bermardp
Brady Date: 5/16/2017

Status: Open & Pending

Rank
POLICE OFFICER

Municipality Court ID Name
MIAMI DADE POLICE 030-07318 JUSTIN D WINLAND
6/15/16 PD160615225 Police Shooting

654

Under Investigation

ASA(s) Tim Vandergiesen/Marie Mato
Victim(s) Castaneda Jr, Bernardo
Brady Date: 5/16/2017

Status: Open & Pending

Rank
POLICE OFFICER

Municipality Court ID Name
HIALEAH 004-01675 NICHOLAS LOPEZ
AAT 2017-02996 Police Shooting

Under Investigation

ASA(s) Gary Winston & Ray Araujo
Victim(s) Placide, Daniel

Brady Date: 5/11/2017

Status: Open & Pending

Rank
SERGEANT

Municipality Court ID Name
NORTH MIAMI BEACH 007-00062 MICHAEL BOLINGER
02/13/14 Investigation Police Shooting

Under Investigation

ASA(s) Katheline Cortes & Joseph Mansfield
Victim(s) _Dwanaunne Antonio Williams

Brady Date: 5/11/2017

Status: Open and Pending

Rank
POLICE OFFICER

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Municipality Court ID Name Rank
HOMESTEAD 010-00598 ANTHONY GREEN DETECTIVE
7/16/15 Investigation Police Involved Shooting

Under Investigation
ASA(s) Luis Caso and Joseph Mansfield
Victim(s) Edward Blanton Foster, III
Brady Date: = 7/22/2015 Status: Open and Pending
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Municipality Court ID Name Rank
MIAMI 001-41661 RICHARD RIOS POLICE OFFICER
7/5/15 Investigation Police Involved Shooting

Under Investigation

ASA(s) Joshua Weintraub and David Gilbert

Victim(s) Maximo Rabasa

Brady Date: 7/22/2015 Status: Open and Pending
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Municipality Court ID Name Rank
HIALEAH 004-01534 LUIS CURBELO POLICE OFFICER
Traffic Homicide
Under Investigation
ASA(s) David Gilbert
Victim(s)
Brady Date: 6/23/2015 Status: Pending Investigation
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Municipality Court ID Name Rank
SWEETWATER 025-00160 OCTAVIO OLIU POLICE OFFICER
F15-4058 Organized Scheme to Defraud & Official Misconduct

Under Investigation
ASA(s) Jeremy Franker,Statewide Pros
Victim(s)
Brady Date: 3/2/2015 Status:
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Municipality | Court ID Name Rank

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MIAMI DADE POLICE /030-07733 ROBERTO C MENDOZA SERGEANT
11/2/2014 Investigation Police Involved Shooting

Under Investigation
ASA(s) Joseph Mansfield and Brenda Mezick
Victim(s) Zambrana
Brady Date: 11/7/2014 Status: Open and Pending
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Municipality Court ID Name Rank
MIAMI DADE POLICE 030-07370 RICHARD J DAVIS Ill POLICE OFFICER
11/2/2014 Investigation Police involved shooting

Under Investigation

ASA(s) Joseph Mansfield and Brenda Mezick

Victim(s) Erick J. Zambrana

Brady Date: 11/7/2014 Status: Open and Pending

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Municipality Court ID Name Rank
HIALEAH 004-01004 BARBARO HERNANDEZ SERGEANT
#1-7/28/2013 Investigations Police Involved Shootings

Under Investigation

ASA(s) #1-William Howell and Don Horn

Victim(s) #1- Gavilanes, Pisciotti, Pisciott, Simono, Nieblas, Perez & Vargas

Brady Date: 10/30/2014 Status: Open and Pending
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Municipality Court ID Name Rank

MIAMI DADE POLICE 030-07533 XAVIER F ALVAREZ POLICE OFFICER
6/11/2014 Investigation In-Custody Death

Under Investigation
ASA(s) Michael Von Zamft and Luis Caso
Victim(s) Timothy Vann
Brady Date: 7/3/2014 Status: Open and Pending
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Municipality | Court ID Name Rank
HIALEAH /004-01449 ANTONIO SENTMANAT POLICE OFFICER
10/22/13 Investigation | Police Involved Shootings

Under Investigation

ASA(s) Abbe Rifkin and Colleen Kay

Victim(s) Javier Diaz

Brady Date: = 11/1/2013 Status: Open and Pending
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Municipality Court ID Name Rank
HIALEAH 004-01216 ANTONIO LUIS LIEUTENANT
#1-1/2/13; #2- Investigations Police Involved Shootings

10/28/13

Under Investigation
ASA(s) #1-Abbe Rifkin and Helen Page Schwartz; #2-Abbe Rifkin and Colleen Kay
Victim(s) #1-Yamil Paz; #2-Arturo Guzman
Brady Date: 11/1/2013 | Status: Open and Pending
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Municipality Court ID Name Rank
HIALEAH 004-00934  RICARDO FERNANDEZ LIEUTENANT
10/28/2013 Investigation, Police Involved Shooting
Under Investigation
ASA(s) Abbe Rifkin and Colleen Kay
Victim(s) Arturo Guzman
Brady Date: 11/1/2013 Status: Open and Pending
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Municipality Court ID Name Rank

MIAMI SPRINGS /005-00142 OSCAR GARCIA POLICE OFFICER
F13-10558 2counts of Insurance Fraud and 1 count of 2nd degree Grand Theft

Charged

ASA(s) Isis Perez

Victim(s)

Brady Date: 6/5/2013 Status: Arrested & charged

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Municipality Court ID Name Rank
MIAMI 001-27502 LUIS HERNANDEZ POLICE OFFICER
F13-2370 Armed Kidnapping, Armed Sexual Battery

Under Investigation
ASA(s) Ray Araujo
Victim(s)

Brady Date: 2/6/2013 Status: Pending

Municipality Court ID Name Rank
HIALEAH 004-01847 CARLOS LINARES POLICE OFFICER
1/2/2013 Investigation Police Involved Shooting

Under Investigation
ASA(s) Abbe Rifkin and Helen Page Schwariz
Victim(s) Yamil Paz
Brady Date: 1/8/2013 Status: Open and Pending

Municipality Court ID Name Rank
HIALEAH 004-01790 JUAN FERNANDEZ DETECTIVE
1/2/2013 Investigation) Police Involved Shooting

Under Investigation
ASA(s) Abbe Rifkin and Helen Page Schwartz
Victim(s) Yamil Paz

Brady Date: 1/8/2013 Status: Open and Pending

Municipality Court ID Name Rank
HIALEAH 004-01249 RICHARD QUINTERO SERGEANT
1/2/2013 Investigation Police Involved Shooting

Under Investigation
ASA(s) Abbe Rifkin and Helen Page Schwartz

Victim(s) Yamil Paz

Brady Date: 1/8/2013 Status: Open and Pending

 

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Municipality Court ID Name Rank

MIAMI DADE POLICE 030-02875 OMAR CARUS POLICE OFFICER
M10-17331 Misdemeanor stalking-1ct

Charged

ASA(s) Christina Cicconi

Victim(s)

Brady Date: 4/19/2010 Status: peinding

Municipality Court ID Name Rank
MIAMI DADE POLICE 030-05669 NATASHA OCASIO POLICE OFFICER
12/21/09 Driving under the influence

Under Investigation
ASA(s) Luis Caso
Victim(s)

Brady Date: 12/22/2009 Status: Pending

Municipality Court ID Name Rank
HIALEAH 004-01422 DEXTER TILLMON SERGEANT
12/12/09 In-Custody Death

Under Investigation
ASA(s) David Paulus and Philip Maniatty
Victim(s) Magdiel Cardero
Brady Date: 12/18/2009 © Status: Open and Pending

Municipality Court ID Name Rank
HIALEAH 004-01525 FRANCISCO ALVAREZ POLICE OFFICER
12/12/09 In-Custody Death

 

Under Investigation |

ASA(s) David Paulus and Philip Maniatty

Victim(s) Magdiel Cardero

Brady Date: 12/18/2009 Status: Open and Pending

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